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                                                          Exhibit A to the Complaint
Location: Lansing, MI                                                                                     IP Address: 174.174.138.197
Total Works Infringed: 24                                                                                 ISP: Comcast Cable
 Work      Hashes                                                                 UTC             Site           Published    Registered   Registration
 1         Info Hash: F2D58D0D2635DDE3BBE018EF87E28BFB4A1DCA0B                           08-09-   Blacked        02-08-2021   03-08-2021   PA0002280363
           File Hash:                                                                     2023    Raw
           A182656B5855D9EEEB1A21DEAC2D825C87BC0FD2767A1E34F247D9208085DABD            01:05:57
 2         Info Hash: B83E00880518FBB59ED04CB16EC0BADA95B4881B                           08-08-   Blacked        05-09-2020   06-08-2020   PA0002243649
           File Hash:                                                                     2023
           029EFB4D3105D9CD06E5B94F441B8CEA6D551DD3AD5962D6EDFCC6174FFC925F            21:06:53
 3         Info Hash: D4E56208BE290AAF986DD87881D7A77129089B86                           08-08-   Vixen          12-18-2020   01-04-2021   PA0002277038
           File Hash:                                                                     2023
           CFFEB7D5057D1FD28D9A4F4C1DE274C2FD8D161A7B8518F72C759E7BDD4EA716            21:06:53
 4         Info Hash: 3D12C142E56A6E39459711907ACDD5A07DA03127                           08-08-   Vixen          11-18-2022   12-11-2022   PA0002384397
           File Hash:                                                                     2023
           DBC642F9DE43810227B6EDE773175652DD06978B99E6B302A7F07C9F2EAEBD77            21:05:15
 5         Info Hash: EA9FF13E03AB98F784270C43F9812FF205C74AD8                           08-08-   Vixen          08-19-2021   10-05-2021   PA0002315294
           File Hash:                                                                     2023
           4B815AE2C3BBEFEA6AB1B15442E7FE5D03648BDEEA1A2993D20BF914535C52BE            21:03:58
 6         Info Hash: B01AD269B921E6EF4954851DDF1CBE6A5911064E                           08-08-   Vixen          04-15-2022   04-23-2022   PA0002346429
           File Hash:                                                                     2023
           67E6F66361440ED106355513B46089BA65B6866080C966AF651DB0FBFF28D100            21:02:50
 7         Info Hash: D6A3E99D30A235B031BEF057B2B7DFF51825ED1C                           08-08-   Tushy          08-28-2022   11-01-2022   PA0002378076
           File Hash:                                                                     2023
           6FF1E25C8D000D3F643B91996E43991D31BCD8E5615A12537938E7A2A62AEA9D            21:02:29
 8         Info Hash: 8D084151BC3BB0184A284913F8756A95942EC720                           08-07-   Tushy          07-17-2022   07-22-2022   PA0002359476
           File Hash:                                                                     2023
           55006DE9A9044C14737EFE43D27A79D43DD51BCD53A887462B4B898E7CA1B9BD            15:25:37
 9         Info Hash: 3BC22005E2AFC76A838931DCA776BBA6A7235CD8                           08-07-   Blacked        10-08-2022   11-01-2022   PA0002378074
           File Hash:                                                                     2023
           52978CFAE6E89E7576A6ACF227919E58FF957546FD0FBEF1FBECBE1294075FED            15:19:17
 10        Info Hash: 12CB3CAF76D76F88E13556704B1C13FC6902811E                           08-07-   Blacked        02-08-2023   03-06-2023   PA0002399990
           File Hash:                                                                     2023    Raw
           B1F01BFBFC6B3E923D7F6F8786EB2955B1D0EA2483E0866F5EC52B59A161DACB            15:18:05
 11        Info Hash: 29D6E26A58ADBD4A63EAB976EF8F1758B4660C7D                           08-07-   Slayed         10-25-2022   11-24-2022   PA0002389329
           File Hash:                                                                     2023
           1908C7384A3E42DBA6A88F5FC8E75F432EF5DD5F6BDDA8A248D0BF5BF3553114            15:17:34
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
12     Info Hash: 54DDB381DB9B297FF4391C512E27E1628E1BF7C9                   08-07-   Tushy     04-09-2023   05-15-2023   PA0002411263
       File Hash:                                                             2023
       C98C2FC3BD3645DB139308EE16424892DCD2FAC80768CEA3B2B4D8BA84A17BF6    15:15:51
13     Info Hash: 88620B073A78B5264AADA5BCF92E3754C8168416                   08-04-   Blacked   09-01-2022   11-24-2022   PA0002388645
       File Hash:                                                             2023    Raw
       00FDD1FDE04C8587F3CC14942E05965765D7812FF108DDF80F33FAF764AB4A57    12:35:26
14     Info Hash: 4AA1F2279D9F8F06123E1F205395728757E7A0A9                   05-09-   Slayed    10-11-2022   11-24-2022   PA0002388301
       File Hash:                                                             2023
       52B37AD2AEC1AE9489D5E231C4F9E2E98F7E8C0CD4D7CF38E8C6F90DA4E823E4    01:43:17
15     Info Hash: AD35028FBA3E58D262D727CE869E6D4757C8DF91                   04-26-   Blacked   03-18-2023   04-07-2023   PA0002405751
       File Hash:                                                             2023
       0D5C4E7A38DFCBCDB5DBF984E8A5D82A8CB9E6F278043C661BDCAFDE1D4D93C1    01:14:18
16     Info Hash: FF7A248CB1917FE0B640DF3BAF9478EE988C020E                   03-21-   Blacked   10-09-2021   10-19-2021   PA0002317059
       File Hash:                                                             2023
       63738DCB991394F33CAE976CF9E706725031BEB6577331314D6D38993309080C    22:43:29
17     Info Hash: BE759F6A958267C1A4C7E1B93F63ECB0B0EE0A46                   03-21-   Vixen     05-21-2021   06-03-2021   PA0002299688
       File Hash:                                                             2023
       4CA71F7DF19396D03CFAE2047B41EE8B846297AC0CD7DF5EB885A7BA9879C004    22:42:34
18     Info Hash: AC3D3B8282563DDBACFEEB9915DA0ACA37FEC2DD                   03-21-   Vixen     09-13-2021   09-30-2021   PA0002319739
       File Hash:                                                             2023
       CE1C7E0C34CCE673204AB3CE70296C4466B044EFBE38AE0A048211F0E959DCA2    22:42:13
19     Info Hash: EE164157CC85B1C5589DEDCB523C91D750A75399                   03-21-   Vixen     11-19-2021   12-09-2021   PA0002325815
       File Hash:                                                             2023
       3C436FD215694282EC63C7412A3D4801978123631FBB513B382C2AB897FD099A    22:40:40
20     Info Hash: BB349C1293CF3112B08434A0CD6DB65533E540AE                   03-21-   Vixen     07-15-2022   07-22-2022   PA0002359477
       File Hash:                                                             2023
       A0B82E6D979B02C53F6EF85500D6622928A69DB240883DC1978E9B1601CF5FAB    22:39:43
21     Info Hash: 7A65B2C57EF88AE976AD94C7AAB3416BD5DEA644                   03-21-   Blacked   02-07-2022   02-14-2022   PA0002335458
       File Hash:                                                             2023    Raw
       9A7E2A81CCD393B971588C52B96044830AC088C83B01F474ED17B21471D05A42    22:39:41
22     Info Hash: 2FE3DB21DF0D396DD681E23816AA6AA15F59E6B6                   03-21-   Vixen     12-24-2021   01-17-2022   PA0002330122
       File Hash:                                                             2023
       A760C42F362D9B2CBE12463BF6D84ACB9ABA030CC0A976BB24915B39D0F79D04    22:39:33
23     Info Hash: 510C2BAB64EA5525520E00137D9908D94024D1AB                   03-21-   Vixen     03-25-2022   04-23-2022   PA0002346420
       File Hash:                                                             2023
       1C51B794FEAF50F037AB80706445580AD627E13343301FD34EDCC500BF4AB121    22:38:39
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Work   Hashes                                                             UTC       Site    Published    Registered   Registration
24     Info Hash: D54AA0900EF67CFEEA274727BD1234A04A851773                   03-21- Vixen   02-17-2023   03-08-2023   PA0002400563
       File Hash:                                                             2023
       9E03E8F2EAC1127ABBE3600BBFD0799C99F41910D75F365CA4859CA4C9F337FB    22:36:44
